                              UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MAINE

BAYLEY’S CAMPGROUND, INC, d/b/a
BAYLEY’S CAMPING RESORT, et al.,
Plaintiffs,

v.                                                    CIVIL ACTION NO.: 2:20-cv-00176-LEW

JANET MILLS, in her official capacity as the
Governor of the State of Maine,
Defendant.


         STATEMENT OF INTEREST ON BEHALF OF THE UNITED STATES

       The United States of America respectfully files this Statement of Interest under 28 U.S.C.

§ 517, which authorizes the Attorney General “to attend to the interests of the United States in a

suit pending in a court of the United States.” The United States has a substantial interest in the

preservation of its citizens’ constitutional rights, including the guarantee that “[t]he Citizens of

each State shall be entitled to all Privileges and Immunities of Citizens in the several States.” U.S.

Const., art. IV, § 2. Especially in the midst of the COVID-19 pandemic, the United States also

has a strong interest in ensuring the development and maintenance of the best possible public-

health strategies to combat the virus and protect the people of the United States from harm. This

case raises issues of national public importance regarding the interplay between the government’s

compelling interest in protecting the public and citizens’ constitutional right to be free from

unjustified discrimination on the basis of state residency.

                                        INTRODUCTION

       In the midst of the COVID-19 pandemic, the state and federal governments have a shared

interest in promoting the best possible public-health strategies to combat the virus to protect the

people of the United States from harm. But that interest does not justify government restrictions

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that violate the Constitution. Indeed, action that infringes upon constitutional rights is likely to

erode public confidence in, and compliance with, legitimate efforts taken to address the COVID-

19 pandemic.

       Here, Maine likely has transgressed the Constitution’s limits by discriminating between

Maine residents and out-of-state residents with respect to the ability to patronize campgrounds and

RV parks within the State. Residents from outside Maine must self-quarantine for 14 days before

they can enjoy these facilities, while Mainers who have not ventured outside the State may frequent

them at any time. That is true regardless of whether the Maine resident has recently come in

contact with others suffering from COVID-19 or whether the out-of-stater hails from an area

relatively unscathed by the pandemic (such as nearby Vermont) or a hotspot (such as New York

City). And this self-quarantine requirement has caused real harm for Maine’s campground

businesses, at a time when Americans most need their States to support efforts to reopen businesses

in a manner consistent with public health.

       The Constitution does not permit the discriminatory treatment challenged in this case.

Although Maine may adopt reasonable measures to protect its residents from the COVID-19

pandemic, it cannot discriminate between Mainers and other U.S. citizens in this context unless

that distinction is substantially related to ensuring public safety. Because the discrimination here

is insufficiently tailored to that objective, it cannot be enforced under Article IV’s Privileges and

Immunities Clause.




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                                      BACKGROUND1

       On April 3, 2020, the Governor of Maine issued Executive Order 34 FY 19/20, which

required the closure of all lodging operations within the State, including campgrounds and RV

parks. Executive Order 34 FY 19/20 § I.5. The Order also compels “any person, resident or non-

resident, traveling into Maine” to “immediately self-quarantine for 14 days.” Id. § I.1. Anyone

who violates the Order may face up to six months in jail and a $1,000 fine. Id. § III. The Order

contains an exception to the self-quarantine requirement, however, for anyone engaged in

“essential services” as specified in Executive Order 19 FY 19/20, id. § I.1, which sets forth a

lengthy list of occupations ranging from “legal, business, professional, environmental permitting

and insurance services” to “fishing and aquaculture” and “forest products,” Executive Order 19

FY 19/20 § II.B.2.

       On April 29, the Governor issued Executive Order 49 FY 19/20, which incorporates a

“Restarting Plan,” available online at https://www.maine.gov/covid19/restartingmaine.        The

Restarting Plan provides that the State’s “Campgrounds/RV parks” will be “[o]pen to Maine

residents only on May 22” and “[o]pen to out-of-state residents who have completed quarantine

guidelines on June 1.”

       Maine’s self-quarantine requirement has contributed to the significant economic harm

being suffered by campground businesses that rely on out-of-state patrons each summer for their

income. For example, the yearly revenue for Little Ossipee Campground, a small family business

in Waterboro, has fallen by over $94,000. PI Mot. 6. Similarly, Bayley’s Campground has




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 The United States submits this statement of interest based on the facts alleged in the complaint
and the preliminary-injunction briefs and reflected in the accompanying exhibits and publicly
available sources.
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received over 700 reservation cancellations, refunded over $153,000 in reservation fees, and lost

over $260,000 in revenue. Id. at 5.

       These businesses, along with New Hampshire residents who wish to enjoy Bayley’s

Campground this summer (and others), brought a constitutional challenge on May 15 against

various aspects of the Governor’s Orders. According to plaintiffs, requiring only out-of-state

residents to self-quarantine before frequenting campgrounds in Maine violates the constitutional

right to interstate travel. The same day, plaintiffs moved for an expedited preliminary injunction

that would allow, among other things, out-of-state residents to frequent Maine’s campgrounds on

the same terms as Mainers. The Governor filed an opposition to the motion on May 25.

                                         ARGUMENT

 Maine’s Discrimination Against Out-Of-State Residents With Respect To Campgrounds
             Likely Violates Article IV’s Privileges And Immunities Clause.

       A.      The Supreme Court has held that the Constitution protects a right to travel from

State to State. See Crandall v. Nevada, 73 U.S. (6 Wall.) 35, 44 (1868). This right to travel

consists of “three different components”: (1) an implied right “to enter and to leave” a State, (2)

an express right, guaranteed by the Privileges and Immunities Clause of Article IV, “to be treated

as a welcome visitor rather than an unfriendly alien when temporarily present in the second State,”

and (3) an express right, guaranteed by the Privileges or Immunities Clause of the Fourteenth

Amendment, to “become a citizen of any State.” Saenz v. Roe, 526 U.S. 489, 500-03 (1999)

(citation and internal quotation marks omitted).

       This case involves the second component. The Privileges and Immunities Clause of Article

IV guarantees that “[t]he Citizens of each State shall be entitled to all Privileges and Immunities

of Citizens in the several States.” U.S. Const., art. IV, § 2. As the Supreme Court has explained,

this Clause “was designed to insure to a citizen of State A who ventures into State B the same


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privileges which the citizens of State B enjoy.” Toomer v. Witsell, 334 U.S. 385, 395 (1948); see

also Saenz, 526 U.S. at 502 (noting that the Clause provides “protections for nonresidents who

enter a State whether to obtain employment, to procure medical services, or even to engage in

commercial shrimp fishing” (citations omitted)).

       In this case, the Governor’s Restarting Plan provides that “Campgrounds/RV parks” are

open to all “Maine residents only on May 22” and to those “out-of-state residents who have

completed quarantine guidelines on June 1.” Restarting Plan, supra. Accordingly, a New

Hampshire resident who self-quarantines for 14 days within his home in the Granite State, for

instance, must undergo an additional quarantine upon arriving in Maine before he can patronize

plaintiffs’ campgrounds. See PI Opp. 13 n.14. By contrast, these campgrounds remain open to

any Maine resident, whether or not he has self-quarantined within the last 14 days or ever, so long

as he has not recently ventured outside the State. And it is unclear whether even “out-of-state

residents” who entered Maine before the Governor issued the self-quarantine requirement and have

remained there since (to the extent such individuals exist) must nevertheless “quarantine” to enjoy

plaintiffs’ campgrounds.

       The fact that the Governor’s orders also burden some Maine residents—namely, those who

have recently traveled outside the State—does not render the Privileges and Immunities Clause

irrelevant. To the contrary, in addressing California regulations that treated milk differently

depending on whether it originated from outside or inside the State, the Supreme Court held that

the “absence of an express statement in the [challenged] laws and regulations identifying out-of-

state citizenship as a basis for disparate treatment is not a sufficient basis for rejecting” a claim

under this Clause. Hillside Dairy Inc. v. Lyons, 539 U.S. 59, 67 (2003); cf. United Bldg. & Const.

Trades Council of Camden Cty. & Vicinity v. Mayor & Council of City of Camden, 465 U.S. 208,



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217-18 (1984) (ordinance discriminating on the basis of municipal residency “is not immune from

constitutional review at the behest of out-of-state residents merely because some in-state residents

are similarly disadvantaged”). As the Court explained, in Chalker v. Birmingham & Northwestern

Railroad Co., 249 U.S. 522 (1919), it “held that a Tennessee tax imposed on a citizen and resident

of Alabama for engaging in the business of constructing a railroad in Tennessee violated the

Privileges and Immunities Clause” even though “[t]he tax did not on its face draw any distinction

based on citizenship or residence.” Hillside Dairy, 539 U.S. at 67. But because the tax “impose[d]

a higher rate on persons who had their principal offices out of State,” and because “‘the chief office

of an individual is commonly in the State of which he is a citizen,’” the Court “concluded that the

practical effect of the provision was discriminatory.” Id. (citation omitted); cf. Healy v. Beer Inst.,

491 U.S. 324, 336 (1989) (state law may be invalid under the Dormant Commerce Clause in some

circumstances based on its “practical effect” alone). Although the Supreme Court reserved the

question whether “Chalker should be interpreted as merely applying the Clause to classifications

that are but proxies for differential treatment against out-of-state residents, or as prohibiting any

classification with the practical effect of discriminating against such residents,” either of those

readings arguably describe the classification here. Hillside Dairy, 539 U.S. at 67. For present

purposes, a classification on the basis of entry into a State—whether applied to milk or people—

appears materially indistinguishable from a classification on the basis of the State where one’s

chief office is located.

        To be sure, the Privileges and Immunities Clause “is not an absolute.” Toomer, 334 U.S.

at 396. It “does not preclude discrimination against nonresidents where (i) there is a substantial

reason for the difference in treatment; and (ii) the discrimination practiced against nonresidents

bears a substantial relationship to the State’s objective.” Supreme Court of New Hampshire v.



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Piper, 470 U.S. 274, 284 (1985); see, e.g., Saenz, 526 U.S. at 502 (“There may be a substantial

reason for requiring the nonresident to pay more than the resident for a hunting license, or to enroll

in the state university” (citations omitted)). And in considering whether the discrimination here is

sufficiently tailored, the Court should not ignore the context of the COVID-19 pandemic. The

Constitution does not hobble States from taking necessary, temporary measures—including

quarantines—to meet a genuine emergency. See Jacobson v. Massachusetts, 197 U.S. 11, 29

(1905) (observing that “[a]n American citizen arriving at an American port” on a ship that had

cases of yellow fever “may yet, in some circumstances, be held in quarantine against his will”);

Compagnie Francaise de Navigation a Vapeur v. Louisiana State Bd. of Health, 186 U.S. 380, 397

(1902) (upholding Louisiana’s quarantine of healthy passengers aboard a vessel during an outbreak

of yellow fever against a Fourteenth Amendment challenge).

       But even during a pandemic, state actions undertaken in service of the public health cannot

be divorced from that end and cannot clearly infringe constitutional rights. Thus, “if a statute

purporting to have been enacted to promote the public health, the public moral or the public safety,

has no real or substantial relation to those objects, or is, beyond all question, a plain, palpable

invasion of rights secured by the fundamental law, it is the duty of the courts to so adjudge, and

thereby give effect to the Constitution.” Jacobson, 197 U.S. at 31. At a minimum, state action

cannot be “exercised in particular circumstances and in reference to particular persons” in “an

arbitrary, unreasonable manner.” Id. at 28.

       B.      At least based on the evidence and argument presented thus far, Maine’s

discrimination against out-of-state residents does not appear sufficiently tailored to ensuring public

safety. Indeed, a federal court recently held that Kentucky travel restrictions issued in the wake of

the COVID-19 pandemic requiring both Kentucky and out-of-state residents who traveled into the



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Commonwealth to self-quarantine for 14 days impermissibly infringed on the right to interstate

travel because its restrictions were inadequately “tailored to achieve the government’s purpose.”

Roberts v. Neace, --- F. Supp. 3d ---, No. 2:20CV054 (WOB-CJS), 2020 WL 2115358, at *5 (E.D.

Ky. May 4, 2020). The same is true here.

       Take overinclusivity first. See Piper, 470 U.S. at 285 n.19 (holding that a “markedly

overinclusive” state residency requirement “does not bear a substantial relationship to the State’s

objective”). It is unclear why the Governor requires every out-of-state resident to self-quarantine

for 14 days before patronizing plaintiffs’ campgrounds. Had Maine imposed such a burden only

on residents from COVID-19 hot spots, such as New York City, this might be a different case. But

Maine requires travelers from every corner of the Union to quarantine themselves upon arrival,

even if they hail from jurisdictions (such as nearby Vermont) that have fewer confirmed cases of

COVID-19—either as an absolute matter or per capita—than Maine does. See CDC, Coronavirus

Disease 2019 (COVID-19), Cases in the U.S., https://www.cdc.gov/coronavirus/2019-ncov/cases-

updates/cases-in-us.html (last visited May 28, 2020). In fact, even if non-residents self-quarantine

for 14 days within their own States, the Governor will not allow them to patronize campgrounds

without self-quarantining for an additional fortnight within Maine. See PI Opp. 13 n.14. It is not

at all obvious why a 14-day self-quarantine in a New Hampshire home, for instance, is any less

effective in reducing the spread of COVID-19 than undergoing the same isolation in a house in

Maine. Put simply, the mere fact that a traveler has recently been outside Maine is not a good

proxy for the risk that he will spread COVID-19.

       Conversely, the Governor permits every Maine resident who has stayed within state lines

to patronize plaintiffs’ campgrounds. It does not matter whether the resident comes from, or has

traveled through, one of the four Maine counties where community transmission of COVID-19



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has been established or the twelve where it has not. See Office of Governor Janet T. Mills,

Governor Mills Introduces Rural Reopening Plan (May 8, 2020) (discussing locations of

community transmission in Maine), https://www.maine.gov/governor/mills/news/governor-mills-

introduces-rural-reopening-plan-2020-05-08. Maine residents who have stayed within the State

do not have to self-quarantine for 14 days, certify they have avoided contact with others with

COVID-19, undergo temperature screenings, or take any other precautionary measures in order to

enjoy plaintiffs’ campgrounds. The “underinclusive” nature of Maine’s regime is another strike

against it under the Constitution. Piper, 470 U.S. at 285 n.19.

       Adding to the underinclusivity is the fact that non-residents may forgo self-quarantining to

engage in “essential services” that appear to be equally as risky as camping, if not more so. As far

as public safety goes, it is unclear why out-of-state residents may enter Maine to engage in any

“legal, business, professional, environmental permitting and insurance services,” for example, but

not to patronize a campground or RV park. Executive Order 19 FY 19/20 § II.B.2. If Maine wants

to prevent the spread of COVID-19, one would think it would start by preventing outsiders from

attending a boardroom meeting, not from pitching a tent.

       Moreover, Maine could use less restrictive means to advance its interest in protecting

public safety. See Piper, 470 U.S. at 284 & n.17 (explaining that when “deciding whether the

discrimination bears a close or substantial relationship to the State’s objective, the Court has

considered the availability of less restrictive means” and that “the State may be required to achieve

its legitimate goals without unnecessarily discriminating against nonresidents”). Notably, the

individual plaintiffs here could have already self-quarantined for 14 days in their New Hampshire

residences before traveling in their campers to their desired campground. Traveling in their

campers from their homes in Meredith and Salem, New Hampshire, to Bayley’s Campground in



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Scarborough, Maine, see Compl. ¶¶ 5-6, these travelers presumably would not have “to use

restrooms, get food and access lodging along the way,” Opp. 13 n.14. Nor is it clear why

“verify[ing]” their claim that they self-quarantined in New Hampshire would be any harder than

verifying the claim that they did so upon arriving in Maine. Id. It is not as if Maine officials are

engaging in a two-week surveillance of any out-of-state resident who self-quarantines upon arrival;

indeed, the Governor admits that the “self-quarantine requirement depends on voluntary

compliance.” Id. And there is little reason to think out-of-state residents will be any less compliant

or truthful than Mainers. Cf. Piper, 470 U.S. at 285-86 (rejecting New Hampshire’s suggestion

“that a nonresident lawyer will conduct his practice in a dishonest manner”).

       In short, while Maine may take reasonable steps to protect public safety during the COVID-

19 pandemic, the insufficiently tailored discrimination against out-of-state residents at issue here

requires a more compelling justification than the ones the State has offered so far.




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                                        CONCLUSION

       The Court should hold that Maine’s discrimination against out-of-state residents likely

violates Article IV’s Privileges and Immunities Clause.2

                                                 Respectfully submitted,

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  The United States does not take a position at this time on whether plaintiffs have satisfied the
remaining factors necessary for a preliminary injunction.
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                                CERTIFICATE OF SERVICE

       I certify that on May 29, 2020, I electronically filed the foregoing STATEMENT OF

INTEREST ON BEHALF OF THE UNITED STATES with the Clerk of the Court for the

United States District Court District of Maine by using the appellate CM/ECF system.

       I certify that all participants in this case are registered CM/ECF users and that service

will be accomplished by the appellate CM/ECF system.


                                                     /s/ Alexander V. Maugeri
                                                     ALEXANDER V. MAUGERI
                                                       Deputy Assistant Attorney General
